                      UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                    CRIMINAL DOCKET NO.: 3:05CR104-24-V

UNITED STATES OF AMERICA        )
                                )
           vs.                  )                 ORDER
                                )
DALE RODNEY TOBIAS,             )
           Defendant.           )
________________________________)


       THIS MATTER is before the Court on the Government’s Motion to Dismiss pursuant

to Rule 48(a) of the Federal Rules of Criminal Procedure, filed June 21, 2005. Upon the

Government’s request, leave of Court will be granted for the dismissal of the Bill of

Indictment (as it pertains to this Defendant only) in the above-captioned case without

prejudice.

       IT IS, THEREFORE, ORDERED that the Motion to Dismiss is hereby GRANTED.

       IT IS FURTHER ORDERED that the Clerk is directed to certify copies of this Order

to the U.S. Probation Office, U.S. Marshal Service, and the United States Attorney’s Office.




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                       Signed: June 27, 2005




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